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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

     v.                                                  Cr. No. 09-10166-MLW

SALVATORE F. DIMASI and
RICHARD W. MCDONOUGH,
     Defendants.



                             MEMORANDUM AND ORDER

WOLF, D.J.                                                            October 11, 2011

     After a six-week trial, on June 15, 2011, defendants Salvatore

DiMasi and Richard McDonough were convicted of conspiracy to commit

honest services mail      fraud,         honest services wire fraud,              and/or

extortion under color of official right,                    and of honest services

mail and wire fraud as well. In addition, DiMasi was convicted of

extortion    under   color    of     official          right.   All   of    the   charges

involved payments made in exchange for official acts by DiMasi as

Speaker of the Massachusetts House of Representatives to assist

Cognos ULC obtain funded contracts for computer software with the

Commonwealth of Massachusetts. The essence of all of the charges

was that Joseph Lally, a co-defendant who cooperated and testified

for the government, conspired with DiMasi, McDonough, and Richard

Vitale,   who was    acquitted,          to    cause    Cognos,    and later Lally 's

company   Montvale    Solutions,          to    make    payments      in   exchange   for

official acts by DiMasi as Speaker to benefit Cognos. As explained

in detail    in the August         30,    2011 Memorandum and Order denying

DiMasi and McDonough's motions for acquittal or for a new trial,
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there was ample, credible evidence to prove that payments for this

corrupt purpose were made to DiMasi personally,           in the form of

purported referral fees,      through his unwitting associate in the

practice of law, Stephen Topazio, and in the form of kickbacks paid

to Vitale and, for the purpose of the charges involving extortion,

McDonough. 1

     On September 9, 2011, DiMasi was granted a downward variance

from a Guideline sentencing range of 235 to 293 months and was

sentenced to serve eight years in prison. McDonough was granted a

downward variance from a Guideline sentencing range of 188 to 235

months and was sentenced to serve seven years in prison.

     After hearing argument on September 23, 2011, the court denied

DiMasi and McDonough's motions for bail pending appeal pursuant to

18 U.S.C.      §3143(b)   The following   is an edited version of       the

transcript of that ruling and the reasons for it. Some citations

have been formalized and others have been added. Some additional

information is included in footnote 55.

                               * * * * * *
I. INTRODUCTION

     For the reasons I will describe, the defendants I motions to be

released on bail pending appeal are being denied.

     I postponed the hearing on these motions, instead of deciding


     lSee United States v. DiMasi, No. 09-10166-MLW, 2011 WL
383770 (D. Mass. Aug. 30, 2011) (the "August 30,2011 Memorandum
and Order").

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them at the time of the sentencing when these matters are usually

decided, because I wanted to consider them particularly carefully.

I   am called upon to decide whether there         is   a   close question

concerning whether I made a mistake and, if so, whether any error

is going to make a difference on appeal.         I wanted to make this

decision thoughtfully, with proper recognition of the possibility

that I made legal errors in this case.         However,     the applicable

legal standard requires that to grant bail pending appeal I must

find that there is a close question that is reasonably likely to

result in an acquittal, a new trial, or a lower sentence. I cannot

candidly say that I discern such an issue.

II. LEGAL STANDARDS

      The answer to the questions presented is very much influenced

by the standards that have to be employed in deciding them. The

issue of release from detention pending appeal arises under 18

U.S.C.   §3143(b).2 I find the defendants have proven by clear and


      218 U.S.C. §3143(b) provides in relevant part:

      Release or detention pending appeal by the defendant.
      -- (1)        [T]he judicial officer shall order that a
      person who has been found guilty of an offense and
      sentenced to a term of imprisonment, and who has filed
      an appeal or a petition for a writ of certiorari, be
      detained, unless the judicial officer finds ­

           (A) by clear and convincing evidence that the
           person is not likely to flee or pose a danger
           to the safety of any other person or the
           community if released under section 3142(b)
           or (c) of this title; and


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convincing evidence that, if released, they are not likely to flee

or present a danger to the community.3 Indeed, the government does

not dispute this. Defendants have not,      however,    shown that their

appeal   raises   a   substantial question of   law or fact    likely to

result in reversal, a new trial, or a lower sentence. 4

     I have considered all of the issues raised by the defendants

in their series of submissions on this matter.         I have reached my

decision analyzing all of those issues and employing the standard

articulated by the First Circuit in Bayko, and the other relevant




            (B) that the appeal is not for the purpose of
           delay and raises a substantial question of
           law or fact likely to result in ­

                  (i) reversal,

                  (ii) an order for a new trial,

                (iii) a sentence that does not include a
           term of imprisonment, or

                 (iv) a reduced sentence to a term of
           imprisonment less than the total of the time
           already served plus the expected duration of
           the appeal process.

    If the judicial officer makes such findings, such
    judicial officer shall order the release of the person
    in accordance with section 3142(b) or (c) of this
    title, except that in the circumstance described in
    subparagraph (B) (iv) of this paragraph, the judicial
    officer shall order the detention terminated at the
    expiration of the likely reduced sentence.

    318 U.S.C. §3143 (b) (A).

    418 U.S.C. §3143 (b) (B).

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standards. S Most of the issues have been discussed in previous oral

and/or written decisions by me. I am now going to address only the

issues that were argued on September 23,                         2011.   Defendants have

characterized          these   as    the    issues      with     the   best   prospect      of

resulting in acquittal, a new trial, or a lower sentence.

       The §3143(b)         standards were interpreted in Bayko. 6 The First

Circuit held that §3143 (b)                has   "two distinct requirements:              '(1)

that the a.ppeal raise a substantial question of law or fact and (2)

that     if    that    substantial       question       is     determined     favorably     to

defendant on appeal, that decision is likely to result in reversal

or an order for a new trial of all counts on which imprisonment has

been imposed. ' ,,7

       As to the first requirement, the First Circuit has interpreted

the words "substantial question of law or fact" to mean "a 'close'

question or one that very well could be decided the other way. liS In

Bayko,        the   First   Circuit      described       the    second    requirement       as

"mean[ing]          that   if error is       found,     it must not be harmless or

unprej udicial         error." 9    It   also        defined    the    statutory   phrase,



      SUnited States v. Bayko, 774 F.2d 516, 522-23 (1st Cir.
1985) .



     7Id. at 522 (quoting United States v. Miller, 753 F.2d 19,
23 (3d Ci.r. 1985)).

       BId. at 522 (internal quotation marks omitted) .



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IIlikely to result          in reversal, II as     II mean [ing]   that    'it is more

probable       than   not    that I   a   favorable    decision     will    result    in

reversal of the conviction or a new trial." 10

     Another important standard for the purpose of this analysis is

the standard for deciding a Rule 29 motion for acquittal at the

trial level. ll The First Circuit will apply the same standard in

analyzing the sufficiency of the evidence on appeal. 12 I discussed

that standard fully in my August 30,                  2011 Memorandum and Order

concerning the motions for acquittal or a new trial. l3 Among other

things,    the    First      Circuit,     on    appeal,     will   "'scrutinize      the

evidence in the light most compatible with the verdict, resolve all

credibili ty disputes          in the verdict I s         favor,   and then reach a

judgment about whether a rational jury could find guilt beyond a

reasonable doubt. ,,,14 In doing so, it will not "weigh the evidence

or make any credibility judgments. 11 15

     Like this court in deciding the Rule 29 motion,                        the First




     lOId ._



     llSee Fed. R. Crim. P. 29.

      12S ee United States v. Marin, 523 F.3d 24, 27 (1st Cir.
2008) .

     l3See DiMasi, 2011 WL 3837770, at *2-3.

      14United States v. Merlino, 592 F.3d 22, 29 (1st Cir. 2010)
(quoting United States v. Olbres, 61 F.3d 967, 970 (1st Cir.
1995) ) .



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Circuit will be called upon to decide if the evidence is sufficient

to permit a rational jury to find each essential element to have

been proven beyond a reasonable doubt. 16 However,         the government

does not have to rule out every     II   'hypotheses .      congenial to a

finding of innocence. I II 17 Moreover, the government is not bound by

all of the evidence that it presents. However,           if the government

introduces evidence contrary to the inferences it wants the jury to

draw, it must introduce other direct or circumstantial evidence to

relieve itself of the effect flowing from the evidence produced. 18

In addition, the acquittal of one defendant on a particular charge

is not relevant to the analysis of whether there was sufficient

evidence to prove another defendant guilty of any charge, including

the same charge, even if the acquittal and the finding of guilt are

logically inconsistent. 19

     Furthermore,   when the issue is the alleged insufficiency of

the evidence concerning one alleged object of the conspiracy,           or




     160lbres, 61 F.3d at 970.

     17United States v. Valle, 72 F.3d 210, 216 (1st Cir. 1995)
(quoting United States v. Gifford, 17 F.3d 462, 467 (1st Cir.
1994)) .

     18See DiMasi, 2011 WL 3837770, at *3 (citing Rodgers v.
United States, 402 F.2d 830, 833-35 (9th Cir. 1968) i United
States v. Canessa, 534 F.2d 402, 404 n.* (1st Cir. 1976)).

     19See United States v. Powell, 469 U.S. 57, 68 (1984) i
United States v. Rogers, 121 F.3d 12, 16 (1st Cir. 1997) i United
States v . Bucuvales, 909 F.2d 593, 597-98 (1st Cir. 1990) i see
also Dimasi, 2011 WL 3837770, at *3 (discussing cases) .

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one theory concerning how corrupt payments were made, relief would

not be granted if the defendant was properly convicted on another

count or theory. 20 Accordingly, in this case, defendants would not

be   entitled       to    relief       because   of     some   defect      relating       to    the

evidence       concerning         the     alleged      conspiracy        to   commit      honest

services fraud if the evidence was sufficient to properly prove a

conspiracy to            commit    extortion. 21       Similarly,        there would be         no

relief granted if the evidence of the payments to DiMasi through

Topazio alone was sufficient to prove either the conspiracy to

commit extortion or to commit honest services fraud.                            In addition,

as   the parties know,             I    instructed the         jury that       it had to be

unanimous with regard to any theory concerning allegedly corrupt

payments on which it convicted. 22

      With      regard       to        alleged       errors    of   law       and   the        jury

instructions, the First Circuit has held that                       II   [p]reserved claims

of instructional error are reviewed under a two-tiered standard:

[it] consider[s] de novo whether 'an instruction embodied an error

of law,   I   but   I   [it] review [s]     for abuse of discretion "whether the

instructions adequately explained the law or whether they tended to



     20See DiMasi, 2011 WL 3837770, at *11 n.8 (citing Griffin v.
United States, 502 U.S. 46, 51, 59-60 (1991) i United States v.
Capozzi, 486 F.3d 711, 717-18 (1st Cir. 2007)).

      21See United States v. Mitchell, 85 F.3d 800, 811 (1st Cir.
1996) .

     22Se~ DiMasi, 2011 WL 3837770, at *11 n.8 (citing, inter
alia, Richardson v. United States, 526 U.S. 813, 824 (1999)).

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confuse or mislead the jury on the controlling issues." 1 ,,23 If an

error was made in a jury instruction it is generally subject to

harmless error review. 24 Omission of an element of the offense is

subj ect to harmless error analysis. 25 Similarly,       if the jury was

instructed on a multiple object conspiracy, if one of the objects

is   legally   flawed,   the   defect    in   the   resulting   conspiracy

conviction is subject to harmless error review. 26 Finally, harmless

error review also applies if the court misstated an element of the

offense. 2~' The harmless error inquiry was described by the Supreme

Court in Neder.    The issue is,    "Is it clear beyond a       reasonable

doubt that a rational jury would have found the defendant guilty

absent the error? 11 28 The appellate court asks "whether the record

contains evidence that could rationally lead to a contrary finding

wi th respect to the" instructional error. 29

     Where the court has refused to give a requested instruction,


     23United States v. Jadlowe, 628 F.3d 1, 14 (1st Cir. 2010)
(quoting United States v. Silva, 554 F.3d 13, 21 (1st Cir.
2009)) .

     24See Hedgpeth v. Pulido, 555 U.S. 57, 60-61 (2008).

     25Neder v. United States, 527 U.S. 1, 15 (1999).

     26See Skilling v. United States, 130 S. Ct. 2896, 2934 &
n.46 (2010) (confirming that harmless error standard announced in
Hedgpeth, 555 U.S. at 60-61, applies on direct appeal) .

     27Pope v. Illinois, 481 U.S. 497, 501-02 (1987); see also
Hedgpeth, 555 U.S. at 60-61 (characterizing Pope) .

     28Neder, 527 U.S. at 18.



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the First Circuit reviews the decision for abuse of discretion. 3D

As stated by the First Circuit in Brandon,                      "[t] he trial court's

failure to give a proffered instruction will not be reversed unless

that      instruction    is    (1)   substantively         correct;        (2)     was     not

substantially      covered     in    the     charge      actually   given;         and     (3)

concerned an important point such that                    the    failure     to give        it

seriously      undermined      the     defendant's        ability     to         present     a

particular     defense. ,,31   Under       the   third    prong,    reversal        is     not

required unless the defendant suffered substantial prejudice. 32

III. DISCUSSION

       A. Sufficiency of the Evidence and Jury Instructions

       I find that it is not a close question whether the evidence

was sufficient to prove a conspiracy to commit extortion and honest

services fraud involving payments through Topazio. The reasons for

this are explained in the August 30,               2011 Memorandum and Order. 33

On September 23, 2011, the defendants pointed to some language in

Lally's testimony that is compatible with their contention that the

payments through Topazio were mere gratuities rather than bribes



       3DSe~ United     States v. Lewis, 40 F.3d 1325, 1336 (1st Cir.
1994) .

      31United States v. Brandon, 17 F.3d 409, 448 (1st Cir.
1994) .

     32See United States v. De La Cruz, 514 F.3d 121, 139 (1st
Cir. 2008) (citing United States v. Tipton, 90 F.3d 861, 883 (4th
Cir.1996».

       33Se~ DiMasi,    2011 WL 3837770, at *7-13.

                                            10
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paid in exchange for official acts. 34 For example, on May 18, 2011,

Lally testified that he "was hoping" at the outset to get a benefit

from the payments being made to DiMasi through Topazio. 35

        In   these     circumstances,         the   government     was     required    to

introduce         evidence    to   refute     the   evidence    suggesting    that    the

payments were mere gratuities. 36 As described in the August 30, 2011

Memorandum and Order, the government introduced ample evidence to

prove     itl3     stream    of    benefits    theory   of     extortion    and   honest

services         fraud. 37 Essentially,       there was      suff icient evidence      to




     34The Supreme Court distinguished bribes from gratuities in
United States v. Sun-Diamond Growers of California:

             The distinguishing feature of each crime is its
        intent element. Bribery requires intent "to influence"
        an official act or "to be influenced" in an official
        act, while illegal gratuity requires only that the
        gratuity be given or accepted "for or because of" an
        official act. In other words, for bribery there must be
        a quid pro quo - a specific intent to give or receive
        something of value in exchange for an official act. An
        illegal gratuity, on the other hand, may constitute
        merely a reward for some future act that the public
        official will take (and may already have determined to
        take), or for a past act that he has already taken.

526 U.S. 398, 404-05 (1999). In Skilling, the Supreme Court
narrowed the honest services fraud statute, 18 U.S.C. §1346, to
include only bribery and kickback schemes, "draw [ing] content
     . from federal statutes proscribing -- and defining -­
similar crimes." 130 S. Ct. at 2931, 2933.

        35Se~    May 18, 2011 Tr. at 33, 38.

     36See DiMasi, 2011 WL 3837770, at *3 (citing Rodgers, 402
F.2d at 833-35; Canessa, 534 F.2d at 404 n.*).

        37SeE~   id. at *7-13.

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establish that the payments that started in about April, 2005, were

in exchange for official acts by DiMasi to be performed when asked

or when opportunities arose, and he accepted the payments with that

understanding. 38 For example, Lally testified that he wanted to get

money to DiMasi to have DiMasi "obtain funding for" Cognos. 39 In

addition,      several months after the Topazio payments began,                   Lally

told    McDonough     that     he   needed      funding   for    the   Department    of

Education project and that it was "time for [the relationship with

Topazio]       to   pay   off."40   There       was   substantial      circumstantial

evidence to support this direct evidence of quid pro quo bribery.41

Accordingly,        the    Rule     29   motion       alleging    that    there     was

insufficient        evidence    concerning       extortion and honest        services

fraud based on payments to DiMasi through Topazio did not present

a "close question" as required by Bayko. 42

       There    was   also     ample     evidence     that   DiMasi     accepted    the




     38See id. (citing, inter alia, United States v. Urciuoli
(Urciuoli II), 613 F.3d 11, 14 (1st Cir. 2010); United States v.
Ganim, 510 F.3d 134, 137-47 (2d Cir. 2007); United States v.
Whitfield, 590 F.3d 325, 336-41 (5th Cir. 2009); United States v.
Kincaid-Chauncey, 556 F.3d 923, 937-38 (9th Cir. 2009)).

     39See May 18, 2011 Tr. at 33-34 (Lally testified that he
"funnel [ed] money to the Speaker DiMasi.      [t]o gain favor
with the Speaker, to have him help us close software, cut deals,
and obtain funding for us.").

       4C'Id'-. at 40; see also DiMasi, 2011 WL 3837770, at *8.

       41See DiMasi, 2011 WL 3837770, at *12.

       42Se~   Bayko, 774 F. 2d at 523.

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payments through Topazio intending to be influenced in his official

acts. 43 This, too, is not a close question. DiMasi's actions in 2005

may   not      themselves      have    been    official         acts.     For    example,      his

advocating for Cognos to Department of Education Commissioner David

Driscoll based on talking points that Lally gave him may not have

been an official act. However, the actions that DiMasi took in 2005

illuminate his intent at the time and in performing official acts

in    2006. 44    Moreover,      the     official        acts    in     2006     are    not    too

attenuated from the 2005 payments to have those payments be found

to have been in exchange for official acts. In Whitfield, the Fifth

Circuit       found    that    the     evidence     of    honest        services       fraud   was

sufficient where some payments were made to a judge before he was

elected to the bench, and two years before he performed an official

act. 4S

          It is also not a close question whether the jury instructions

regarding extortion and honest services fraud relating to payments

to DiMasi through Topazio were incorrect as a matter of law. As

described        in   the     August    30,    2011      Memorandum        and     Order,      the

instructions          were    based     on    the   Supreme        Court's       decision       in



       43See. DiMasi, 2011 WL 3837770, at *12.

     44Id .. ; see also United States v. Sutton, 970 F.2d 1001, 1008
(1st Cir. 1992) (II [I] t is an accepted proposition, logically and
legally, that subsequent events may shed light upon, and be
relevant in determining, what transpired at an earlier time. ")

       4SSe~
          Whitfield, 590 F.3d at 553 & n.17; see also DiMasi,
2011 WL 3837770, at *12 (discussing Whitfield) .

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Skilling,46 the First Circuit's post-Skilling decision in Urciuoli

11,47 and on cases cited by the Supreme Court and the First Circuit,

particularly Ganim, 48       Kemp, 49    Whitfield, 50       and Kincaid-Chauncey. 51

Further support for the instructions I gave comes from the August

25, 2011 decision of the Third Circuit in Bryant. 52 There, the Third

Circuit validated the stream of benefits theory of honest services

fraud,     and held that payments need not be shown to have been made

with the intent to Halter" official conduct. 53 The Third Circuit

also held that quid pro quo bribery agreements can be implicit;

they do not need to be explicit. 54

       I   also    find   that   it     is   not   a    close   question    whether   I

improperly or inadequately failed to distinguish legal gratuities

from     illegal   bribes   in   instructing           the   jury as   those   concepts

related to the Topazio payments, as well as other payments. I                       did



       46Skilling, 130 S. Ct. at 2930-31, 2934.

       47Urciuoli II, 613 F.3d at 14-18.

       48Ganim, 510 F.3d at 147-49.

      49United States v. Kemp,           500 F.3d 257, 281-86          (3d Cir.
2007) .

       50Whitfield, 590 F. 3d at 352-53.

       51Kincaid-Chauncey, 556 F.3d at 943-47.

     52United States v. Bryant, Nos. 09-3243, 09-3275, 2011 WL
3715811, at *4-5, *7-9 (3d Cir. Aug. 25, 2011).

       53Id. at *5-6, *7-9.

       54Id. at *5, *8.

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instruct   the   jury that   it had to be proven that payments were

intended to be,    and were known by the defendants to be, made in

exchange for official acts. 55 In addition, my instructions included


     55A transcript of the jury instructions was prepared and
marked for identification as Exhibit II. When the full transcript
of the proceedings on June 13, 2011, is prepared, the page
numbers may differ from the version cited in this Memorandum and
Order.

     Among other things, the jury was given the following
instructions emphasizing the necessity of proof that payments
were made in exchange for official acts.

     [T]o find a defendant guilty of committing the crime of
     mail or wire fraud, you must find that he devised or
     participated in a scheme to exchange one or more such
     paym.ents for the performance by DiMasi of one or more
     official acts.

See June 13, 2011 Tr. Excerpt at 40.

     A payment made in exchange for an official act, which
     is sometimes called a quid pro quo bribe or kickback,
     is a payment made with the intent to influence an
     official act and received with the intent to be
     influenced in an official act.

Id. at 41.

     In order to convict a defendant of honest services
     fraud, you must unanimously agree that the defendant
     participated in a scheme involving payments to DiMasi
     through Topazio in exchange for official acts, or
     involving payments to Vitale in exchange for official
     acts, or involving both types of payments.  You must
     all agree that the defendant participated in a scheme
     involving one type of payment, or the other, or both.

Id. at 46.

     Accordingly, you should decide whether the government
     has proven that DiMasi was receiving payments from
     Cognos or Lally that he knew were made in exchange for
     his official acts or knew that Vitale was receiving

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the   following    statements   that    in   effect   distinguished   a   mere

gratuity from a bribe:

      [I]t would not be enough if the government only proves
      that Cognos and/or Lally made a payment to DiMasi or
      Vitale only to cultivate a business or political
      relationship with DiMasi or only to express gratitude for
      something DiMasi had done. 56

As the parties know from the documents I circulated while drafting

the jury instructions, 57 this statement was based on Sawyer I, 58 and

Sun-Diamond. 59 I went on to say:

      In addition, any payment to Vitale only to lobby public
      officials, meaning to advocate positions to public
      officials or to provide strategic advice to clients
      seeking public contracts or for business advice, is not
      a basis for a mail or wire fraud charge. 6o

Later in the instructions,      with regard to the intent element,           I

told the jury:

      In addition, in this case it would not be enough if the
      government proves only that a defendant genuinely
      beli.eved that Cognos and/or Lally made the payments at
      issue only to cultivate a business or political
      relationship with DiMasi or to express gratitude for



      payments DiMasi had caused to be made from Cognos or
      Lally for his benefit in return for his official acts.

Id. at 47.

      56Id,-- at 42.

      57See, e. g., June 12, 2011 Order.

     58United States v. Sawyer (Sawyer I), 85 F.3d 713, 720-22
(1st Cir . 1996).

      59Sun-Diamond Growers of Cal., 526 U.S. at 404-05.

      60Se~   June 13, 2011 Tr. Excerpt at 42.

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     something DiMasi had done. 61

These instructions distinguished a quid pro quo bribe or kickback

from a gratuity.62 I also instructed that a quid pro quo bribe or

kickback was a payment made with intent to influence an official

act, and accepted with intent to be influenced. 63

     The   foregoing    issues    concerning       the    instructions   do   not

present    a   close   question    as        required    by   Bayko.   When   the

instructions are read as a whole -- or even when they are read in

their pertinent parts alone -- they did not improperly shift the

burden of proof to the defendants. 64 Among other things,                at the

conclusion of the instructions on intent I said:

     [!]n this case it would not be enough if the government
     proves only that a defendant genuinely believed that
     Cognos and/or Lally made the payments at issue only to
     cultivate a business or political relationship with
     DiMasi or to express gratitude for something DiMasi had
     done. In other words, if the defendant knew of any of the
     payments at issue and had a sincere good faith belief
     that they were being made only for one or more than one
     of these legitimate purposes, he would not be guilty of
     mail or wire fraud even if that belief was erroneous. 65

Then, addressing the burden of proof, I said:

     A defendant does not have the burden to establish his



     61Id. at 50.

     62See Sun-Diamond Growers of Cal., 526 U.S. at 404-05.

     63See June 13, 2011 Tr. Excerpt at 41.

      64See United States v. Gerhard, 615 F.3d 7, 29 (1st Cir.
2010) .

     65See June 13, 2011 Tr. Excerpt at 50.

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     good faith.  The burden to prove both intent to defraud
     and to deceive the public and therefore lack of good
     faith as well as all of the other elements of the crimes
     charged rests with the government to prove beyond a
     reasonable doubt. 66

In addition, throughout the instructions I told the jury that the

burden of proof at all times was on the government to prove the

matters at issue beyond a reasonable doubt.

     Particularly if the payments to Vitale are counted, I probably

told the jury more about what was legal, as compared to illegal,

than was actually required by First Circuit precedent. In Potter,

the judge refused to instruct the jury on what would be legal,

rather than illegal, in an honest services fraud case. 67 The First

Circuit said that the risk of the jury confusing a distasteful

gratuity for an illegal bribe did not exist in Potter as it had in

Sawyer   I. 68   It   noted   that   a   "scheme        aimed at     providing

millions of dollars in which             [the public official]   would share"

could not rationally be viewed as a way to "cuI ti vate friendship." 69

The same is true with regard to the payments totaling $600,000 to

Vitale at a minimum.          Even if one assumed,    as I do not,   that the



     66Id,- at 50 - 51.

      67See United States v. Potter, 463 F.3d 9, 18-19 (1st Cir.
2006) .

     68Id. at 19 (describing Sawyer I, 85 F.3d at 727-32, 741, as
involving gifts such as tickets, trips, and meals, and thereby
requirin~r an instruction that cultivating friendship by means of
gifts was not honest services fraud) .



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payments to Vitale cannot be properly included in the analysis,70

the required close question does not exist. The $65,000 received by

DiMasi personally could not be confused with a mere gratuity.

       I did not give the instructions contrasting what would be a

gratuity with what would constitute a bribe in as much detail as

the defendants requested.         However,   I   did convey the defendants'

theory of the case and permitted the defendants to argue it. This

is all that was required by DeStefano,7 1 and Urciuoli 11. 72 It is

not,     I   find,   a    close    question      whether   my   instructions

distinguishing lawful conduct from unlawful conduct were correct.

I   do not find that the First Circuit is likely to find that I

abused my discretion in not giving a more elaborate instruction

distinguishing a bribe from a gratuity. The defendants' ability to

present their defense was not seriously undermined. Therefore, the

requirements of Brandon, I predict, will not be found to have been




     70See DiMasi, 2011 WL 3837770, at *2 n.1, *13-17 (finding
that, although acquitted, Vitale joined the scheme and
conspiracy, and, therefore, that the payments to him need not be
excluded from the analysis of the evidence for purposes of
defendants' motions for a new trial pursuant to Federal Rule of
Criminal Procedure 33).

     7lS ee United States v. DeStefano, 59 F.3d 1, 2-3 (1st Cir.
1995) (" [S] 0 long as the charge sufficiently conveys the
defendant's theory, it need not parrot the exact language the
defendant prefers.").

     72Se~ Urciuo1i II, 613 F.3d at 14-15 (defendant was free to
argue to the jury that he performed some legitimate services in
exchange for payments alleged to be have been bribes) .

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met. 73

          The defendants make another,        separate claim concerning the

sufficiency of the evidence.            They assert that the evidence was

insufficient        to   prove   that   DiMasi    "caused"   the   payments   to

McDonough and Vitale in exchange for official acts, as alleged in

Paragraph 14 of the Amended Superseding Indictment. 74 I find this,

too, is not a close question. However, it is also not material in

view of the fact that the convictions based on the payments to

DiMasi through Topazio would stand in any event, and result in the

same sentence. 75 Put differently,            even if an error was made,      it

would not result in an acquittal, a new trial, or a lower sentence.



          73See Brandon, 17 F.3d at 448.

     74paragraph 14 of the Amended superseding Indictment
provides in full:

          It was a further object of the conspiracy for DIMASI to
          receive, and cause others to receive, money from LALLY
          and eognos in return for performing official acts as a
          member and Speaker of the Massachusetts House of
          Representatives that would further the interests of
          LALLY and Cognos in the Commonwealth of Massachusetts.

As discussed in the August 30, 2011 Memorandum and Order, the
court instructed the jury that the payments to McDonough could
not be considered for purposes of honest services fraud because
there was not enough evidence that DiMasi benefitted from those
payments, although the payments to McDonough could be considered
for purposes of extortion. See DiMasi, 2011 WL 3837770, at *5
n.3. Accordingly, although the sufficiency of the evidence
concernin 3" whether DiMasi "caused" the payments to McDonough and
              l


Vitale relates to both the honest services fraud and extortion
charges, the payments to McDonough are relevant only for the
extortion charges.

          75See Griffin, 502 u. S. at 59-60.

                                         20
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        It is not claimed that I made any legal error in defining

"causation."          This case        is,   therefore,   distinguishable   from     the

recent Second Circuit decision in Ferguson, cited by defendants. 76

In this case,          Paragraph 14 of the Amended Superseding Indictment

alleged that DiMasi             "caused" payments to be made to others.               In

Ferguson, the judge defined "willfully caused" incorrectly and, as

the Second Circuit wrote, "the jury was not invited or permitted to

rely on the phrase I s plain meaning. ,,77 In this case,                  on June 9,

2011, Martin Weinberg, then serving counsel for Vitale and making

arguments in which all three defendants joined,                      asked me not to

define "cause" for the jury. He argued successfully that "the jury

knows     what    I   cause I   is."    The   defendants   did not    obj ect   to   the

instruction concerning causation after the jury was instructed. 78

        The evidence was adequate to prove that DiMasi caused payments

to be made to Vitale and McDonough.                  I did not address this issue

expressly in the August 30, 2011 Memorandum and Order, but much of

the relevant evidence is recited there. 79 I will mention only some

of the most significant evidence that,                    viewed in the light most

favorable to the verdict,                indicates strongly that the jury could




     76United States v. Ferguson, 2011 WL 3251464, at *8-9 (2d
Cir. Aug. I, 2011).

        77Id,,- at *9.

        78See June 13, 2011 Tr. Excerpt.

        79Se~   DiMasi, 2011 WL 3837770, at *7-13.

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properly find that DiMasi caused the payments,                 and,       indeed,    that

this is not a close question. For example, with regard to the first

payments of $100,000 each to McDonough and Vitale, Lally testified

that he agreed to make the payments because" [t]hat's what I was

told [by McDonough]            I needed to do in order to get the Speaker to

get the deals -- the funding through. ,,80 Similarly, Lally testified

that he paid Vitale $100,000 because,                "I was told that's what I

needed to do in order to get the deal and the funding through the

Speaker. ,,81

       It is now argued that those statements were sufficient to show

that McDonough said these things and himself caused the payments to

be made, but that they are insufficient to prove that DiMasi caused

the payments to be made. As summarized in part in the August 30,

2011 Memorandum and Order, there was substantial evidence to prove

that   McDonough         was   conspiring    with   DiMasi    and   acting     as     his

representative       on many occasions           in the   scheme    the    jury found

proven.    There     is    also other evidence       that    links DiMasi       to    the

contention that he caused the payments to be made to Vitale. For

example, when Lally delivered the first $100,000 check to Vitale,

he called DiMasi up and told him that he had dropped off the check.

Lally testified that DiMasi responded,                "All right.     Thank you. ,,82



       8CSe~    May 18, 2011 Tr. at 63.

       81Id.    at 78.

       82Id'-. at 80.

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DiMasi did not say,           "I don't know what you1re talking about. II In

addition,     that payment to vitale was arranged in May,                        2006,    and

approximately one month later, on the golf course on Father's Day,

DiMasi told McDonough and Lally that they had to IImake as much hay

as possible II during the limited time that he would be Speaker. 83

This    is   evidence        that   DiMasi   both      knew     about    and    caused    the

payments to McDonough and Vitale.

       Moreover, if there was an error with regard to the allegation

that DiMasi caused the payments to vitale and McDonough,                            it was

harmless under Griffin and Skilling. 84 Paragraph 14 of the Amended

Superseding Indictment did not allege or require proof that DiMasi

caused the payments that he personally received through Topazio. As

described in the August 30, 2011 Memorandum and Order, and again as

discussed earlier, there was ample evidence to convict DiMasi and

McDonough based on the payments to DiMasi through Topazio alone. It

is also clear beyond a reasonable doubt that the jury would have

found DiMasi and McDonough guilty of conspiracy to commit extortion

and    honest      services     fraud   without        any    payments     to    Vitale    or

McDonough.         Indeed,    the   defendants         argued    for     the    purpose    of

calculating the Guideline range at sentencing that this is exactly

what   the    jury verdicts         indicate      it    found    had occurred.       As    in




       83Id. at 70.

       84See Griffin,        502 U.S. at 59-60; Skilling,               130 S. Ct. at
2934   & n . 46.

                                             23
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Skilling on remand,           there was in this case overwhelming evidence

that        the   payments    to    DiMasi       through    Topazio     were        part   of   a

conspiracy to commit extortion and honest services fraud. 85 The

First        Circuit's      decision      in     Escobar-de    Jesus     reinforces        this

conclusion. 86

        I     also   find    that    it     is   not   a   close     question       whether     a

conviction for Hobbs Act extortion requires a benefit to the pUblic

official          personally,       as    defendants        argue.      Green, 87      Vigil, 88

Margiotta" 89 and Bradley, 90 indicate that the Supreme Court does not

require that the benefit be to the pUblic official personally.

However, although it may have been more than the law required, as

I   have      explained      on     other      occasions,     because     the       government

included a benefit element in its proposed jury instructions for

honest services fraud almost until the end of trial,                            I   instructed

the jury that it had to find that any payments to others were for




     85See united States v. Skilling, 638 F.3d 480, 488-89 (5th
Cir. 2011).

     86See United States v. Escobar-de Jesus, 187 F.3d 148,
161-62 (1st Cir. 1999).

        87United States v. Green, 350 U.S. 415, 420 (1956).

      88United States v. Vigil, 523 F.3d 1258, 1264 (lOth Cir.
2008) .

      89United States v. Margiotta, 688 F.2d 108, 113-14 (2d Cir.
1982) .

      90United States v. Bradley, 173 F.3d 225, 231-32                          (3d Cir.
1999) .

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DiMasi's benefit in order to convict on the honest services fraud

charges. 91     The    convictions             on the       honest      services      fraud    counts

communicate          that    the       jury    also       would    have      found    payments       for

DiMasi's benefit if I had instructed it that such a benefit was

required to convict him of extortion.

        On September 23, 2011, DiMasi reiterated his contention that

the standard that the Supreme Court applied in McCormick,                                          which

requires        an    explicit          quid        pro    quo    agreement          when   campaign

contributions are involved, applies to this case. 92 I first rejected

that    argument       when       I    orally denied             the motion      to    dismiss       the

Superseding Indictment in January, 2011. I reiterated my reasoning

at   the    time of         the    jury instructions.              I    believe that DiMasi's

contention was rejected by the First Circuit in Urciuoli II,                                          in

which the court stated that conspiracies to commit honest services

fraud can be inferred from circumstantial evidence. 93 In addition,

there      is   a    recent,          thoughtful          decision      from   the     District       of

Columbia        District          Court       that    rejects          the   argument       that     the

McCormick       standard          should       be    employed      outside      the     context       of

campaign contributions. 94



        91See DiMasi, 2011 WL 3837770, at *5 n.3.

        92See McCormick v. United States, 500 U.S. 257, 273                                 (1991).

     93See Urciuoli II, 613 F.3d at 14-15 & n.3 (citing Kincaid­
Chauncey, 556 F.3d at 943-47; Kemp, 500 F.3d at 284-85).

     94See United States v. Ring, 768 F. Supp. 2d 302, 306
(D.D.C. 2011) (citing Urciuoli II, 613 F.3d at 13, 15 n.3)

                                                     25
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      B. Prosecutor's Rebuttal Argument

      I   have not previously addressed the defendants'                            claim that

improper remarks by the prosecutor in the rebuttal at the end of a

long day of closing arguments raise a close question as to whether

a new trial is justified. 95 Such claims are analyzed by the First

Circuit    for    harmless       error,     as        explained      in   Glover. 96     "When

determining whether comments are                  I   harmful, I    [the First Circuit]

consider [s]     the   1   totality of    the         circumstances, I       including the

severity of the misconduct, the prosecutor's purpose in making the

statement (i.e., whether the statement was willful or inadvertent),

the   weight      of       the   evidence        supporting         the      verdict,     jury

instructions, and curative instructions. ,,97 Similarly, in Gentles,

the First Circuit held that to determine prej udice,                               "First,     we

determine whether the prosecutor's                     conduct was        isolated and/or

deliberate; next, we consider whether the trial court gave a strong

and   explicit    cautionary       instruction;           and      finally    we    determine




     9SA final transcript of the prosecutor's rebuttal argument
has not yet been completed. However, a draft transcript of the
prosecutor's rebuttal argument was prepared in advance of the
September 23, 2011 hearing on the motions for bail pending
appeal. ~ee Sept. 6, 2011 Order. Accordingly, for purposes of
this Memorandum and Order, the court is quoting and citing page
numbers from the draft June 10, 2011 Transcript Excerpt, which
may differ from the page numbers of the final transcript when it
is prepared.

      96See. United States v. Glover, 558 F.3d 71, 76-78                           (1st Cir.
2009) .

      97Id .. at 78.

                                            26
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whether it is likely that any prejudice surviving the instruction

could have affected the outcome of the case." 98

        Rebuttal is a particularly sensitive time because rebuttal

arguments     are   the   last     words    spoken to     the    jury by   the   trial

at torneys. 99     However,      " [a]    specific    curative     instruction     can

mitigate the damage of an improper comment, and the content of the

jury instructions can remedy the effects of problematic language

employed      ln    the   closing        argument." 100   Such    instructions     are

particularly effective when they explicitly direct the                       jury to

disregard the improper comments. 101

        In this case, one of the prosecutors said in rebuttal that:

        [I]f you think the government is in some conspiracy with
        Joseph Lally to convict these men?    Well, then we have
        another problem. 102

That comment was provoked by some of                  the defendants'      preceding

closing arguments. It is not clear to me what this comment means.

Because it is so ambiguous,              I do not find that it was improper.

However, I did promptly tell the jury to ignore the comment and to




        98United States v. Gentles, 619 F.3d 75, 81-82               (1st Cir.
2010)    (internal quotation marks omitted) .

     99Se~ United States v. Ayala-Garcia, 574 F.3d 5, 20 (1st
cir. 2009) (quoting United States v. Manning, 23 F.3d 570, 575
(1st Cir. 1994)).

        100Glover, 558 F.3d at 78          (internal citation omitted).

        101See Potter, 463 F.3d at 23-25.

        lC2See June 10, 2011 Tr. Excerpt at 101.

                                            27
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consider        only     the   conspiracy      charged    in     the     indictment. 103

Accordingly,       in view of the jurisprudence, it does not present a

close question. Any possible prejudice relating to that comment was

eliminated by my           instruction,     and that     comment       could not have

affected the outcome of the case. 104

     In his rebuttal argument, the prosecutor also said:

     You heard some evidence in this case about family and I
     think Joe Lally's family and I'm sure you haven't been
     able to disregard the fact that the defendants have
     families and supporters, but the only family that matters
     is your family. And when you go back to them, at the end
     of this case, you can look them in the eye and say, "I
     decided this case on the evidence," and that's all. When
     you go back in that jury room, leave your biases, leave
     your sympathies outside the door, but don't leave behind
     your common sense. And if you believe that the evidence
     has proven these defendants guilty beyond a reasonable
     doubt but you say, "Well, it looks like they have a nice
     family," or maybe more cynically, "Hey, this is just
     politics and lobbying as usual," well then the judge and
     the lawyers, myself included, we have failed to find an
     impartial jury that will reach a verdict only on the
     evidence. And I know that I s not the case. 105

I   addressed          these   comments     promptly     after     the     defendants I

objection. I told the jury:

      [Wlhen I give you my instructions on Monday, I am going
     to explain to you in detail that honest services mail
     fraud or honest services wire fraud or conspiracies to
     commit either of those crimes require, among other
     things, payments made in exchange for official acts, and
     that's unlawful. And I'm also going to - although I may
     not use the precise word, describe for you what kind of


     103S eE,   id. at 119-20.

     104S   ee, Gentles, 619 F.3d at 81-82.

     l05S   ee, June 10, 2011 Tr. Excerpt at 110.

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       activity relating to legislators is permissible lobbying
       for the purposes of this case.      So it's not really a
       question of, you know, what's "business as usual" or what
       isn I t "business as usual. II This is why I continue to
       urge you, now with even more emphasis, to keep an open
       mind until you hear my instructions on Monday because
       until you hear my instructions on Monday because until
       you know what the questions are, you can't properly begin
       to think and then discuss what the right answers are. 106

Then I   told the jury to ignore what the prosecutor had said about

the government being in a conspiracy with Lally,              and went on to

say:

       You're going to decide this case - you've taken an oath
       to decide this case based on the evidence. You're to put
       aside any possible bias, sympathy or prejudice and you
       are going to decide, based on the evidence, whether any,
       some or all of the defendants have been proven guilty
       beyond a reasonable doubt. And I I m going to instruct you
       to not consider the possible consequences if you do that.

       And I'll also tell you now that you're never going to be
       under any obligation to explain your verdict to anyone,
       your family, or anybody else, and you shouldn't consider
       and certainly not be influenced by any consideration of
       how your verdict would be received one way or the other.
       You have an important responsibility but it's defined, it
       is to consider the evidence and decide whether it proves
       any charge against any defendant beyond a reasonable
       doubt. 107

       For   purposes   of   the   present   analysis,   I   assume   that   the

comments about the jurors facing their families,             or finding that

the case concerned politics and lobbying as usual, were improper,

or at least that it is a close question as to whether they were




       106S ee id. at 119.

       107S ee id. at 120-21.

                                       29
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improper under cases such as Robinson 10B and Young. 109 However,                                    as

defendants'       counsel           acknowledged         on    September         23,        2011,   the

improper comments were not intentional.                         In addition,            I   find that

they were not          severe.       And most       importantly,            I   promptly gave a

strong curative          instruction.          In view of         the powerful                evidence

against     the       defendants,        I    am    confident          that      they        were   not

prejudiced by the disputed statements made in rebuttal.                                        Indeed,

these facts are less serious than those presented in Potter, where

the First Circuit found no reversible error. 110

      C. Defendants' Request for Grand Jury Instructions

      Finally,         the    other     matter      mentioned          in       the    argument      on

September       23,     2011        related   to    the        grand    jury          instructions.

Essentially, defendants argue that I made an error in not ordering

the production of the grand jury instructions or at least reviewing

them myself. The contention is that the grand jury may have been

instructed only on honest services fraud based on the gratuity or

undisclosed conflict of interest theories which were rejected in

Skilling,      which was decided after the indictment in this case .111

However,    I     note       that    Paragraph      14    of    the    Amended          Superseding




      108Se~    United States v. Robinson, 473 F.3d 387, 397 (1st Cir.
2007) .

      109Se~    United States v. Young, 470 U.S. I, 5-6,                              (1985).

      llOSe~    Potter, 463 F.3d at 23-25.

      lllSe~    Skilling, 130 S. Ct. at 2931, 2933.

                                               30
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Indictment alleges, among other things,         that   II   [i]t was a further

object of the conspiracy for DIMASI to receive                    . money from

LALLY and Cognos in return for performing official acts."                     That

communicates to me that the grand jury found probable cause to

believe that DiMasi received money from Lally and Cognos in return

for performing official acts, which is in the heartland of quid pro

quo   bribery    and    honest   services   fraud   after     Skilling .112    The

indictment, therefore, is valid on its face. As the First Circuit

said in Maceo,    '"   [a]n indictment returned by a legally constituted

and unbiased grand jury,              if valid on its face,       is enough to

call for trial of the charge on the merits. ,,,113 That is what we had

in this case. The defendants have now been convicted of quid pro

quo honest services fraud. That I believe, under Mechanik, should

essentially end the inquiry.114

      Again,    I note that even if the grand jury was not properly

instructed on honest services fraud,         the extortion charges would

remain valid and any error concerning the instructions on honest

services fraud would be harmless.

IV. CONCLUSION

      Defense counsel have brilliantly presented their arguments.




     lllUnited States v. Maceo, 873 F.2d 1, 2-3 (1st Cir. 1989)
(quoting Costello v. United States, 350 U.S. 359, 363 (1956))

     114See United States v. Mechanik, 475 U.S. 66, 67 (l986); see
also United States v. Lopez-Lopez, 282 F.3d 1, 9 (1st Cir. 2002).

                                      31
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The government has fully responded to them. I have done my best to

analyze the issues.   I   just do not find a close question that is

likely to result in reversal, acquittal, a new trial, or a lower

sentence. As explained earlier, if defendants were only convicted

of conspiracy to extort money paid to DiMasi through Topazio,              I

would have given exactly the same sentence.

     Accordingly,   as previously ordered on September 23,             2011,

defendants' motions for bail pending appeal are hereby DENIED.




                                  32
